
PER CURIAM:
This claim was submitted for a decision based upon the allegations in the Notice, of Claim and the respondent’s Answer. . ■ , .
The claimant seeks payment of $4,752.00 for medical services rendered to .inmates in the Mount Olive Correctional Center, a facility, of the.respondent... The invoices for the services were *87not processed for payment in the proper fiscal year; therefore, the claimant has not been paid. In its Answer, the respondent admits the validity and amount of the claim, and states that there were sufficient funds expired in the appropriate fiscal year with which the invoices could have been paid.
In view of the foregoing, the Court makes an award in the amount of $1,752.00.
Award of $1,752.00.
